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                       United States District Court
                                      for the
                            Easter District of California



United States of America                           Waiver of Appearance
                                                   For Status Conference
       v.


Charles Head, et al.                               Case Number: 2:08-cr-00116-FCD




I, Lisa Vang, charged in an indictment pending in the Eastern District of California in
violation of Title 18, U.S.C., §371 (Conspiracy to Commit Mail Fraud); Title 18, U.S.C.,
§1341 (Mail Fraud); and Title 18, U.S.C.,§1956 (h)( Conspiracy to Commit Money
Laundering), do hereby waive (give up) my right to appear at the Status Conference
scheduled for Monday, April 28, 2008 at 10:00 AM, in Department 2 with Judge Frank
C, Damrell, Jr. presiding.

I acknowledge that I have received and reviewed a copy of the indictment and have
agreed to enter a prior plea of not guilty.



_______________________________                    ______________________________
Date                                               Defendant


                                                   ______________________________
                                                   Counsel for Defendant


       The Defendant’s request to waive appearance at the above stated Status
Conference is hereby APPROVED.

DATED: April 24, 2008


                                          _______________________________________
                                          FRANK C. DAMRELL, JR.
                                          UNITED STATES DISTRICT JUDGE
